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                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
PJC                                                 271 Cadman Plaza East
F. #2022R00246                                      Brooklyn, New York 11201



                                                    April 13, 2023

By E-mail

The Honorable Vera M. Scanlon
United States Magistrate Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

              Re:     United States v. Sherilyn Pellitteri
                      Criminal Docket No. 23-113 (RPK)

Dear Judge Scanlon:

                The government respectfully moves for an order unsealing the above-captioned
matter in its entirety, including the information.

                                                    Respectfully submitted,

                                                    BREON PEACE
                                                    United States Attorney

                                            By:                /s/
                                                    Patrick J. Campbell
                                                    Trial Attorney, Fraud Section
                                                    Criminal Division
                                                    U.S. Department of Justice
                                                    (718) 254-6366
Enclosure

cc:    Clerk of Court (by ECF)
       Michael Weil, Esq. (by Email)
Case 1:23-cr-00113-RPK-CLP Document 10 Filed 04/13/23 Page 2 of 2 PageID #: 31


PJC
F.# 2022R00246

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA
                                                         ROPOSED ORDER
         - against -
                                                       CR 23-113 (RPK)
SHERILYN PELLITTERI

                       Defendant.

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                 Upon the application of BREON PEACE, United States Attorney for the Eastern

District of New York, by Department of Justice Trial Attorney Patrick J. Campbell, for an order

unsealing the above-captioned matter in its entirety, including the information.

                 WHEREFORE, it is ordered that the above-captioned matter in its entirety be

unsealed.


Dated:      Brooklyn, New York
                 4/13
            _________________, 2023


                                                   Vera M. Scanlon

                                              HONORABLE VERA M. SCANLON
                                              UNITED STATES MAGISTRATE JUDGE
                                              EASTERN DISTRICT OF NEW YORK
